
47 So. 3d 933 (2010)
Norberto O. EASON, Appellant,
v.
The STATE of Florida, Appellee.
No. 3D10-2611.
District Court of Appeal of Florida, Third District.
November 10, 2010.
Norberto O. Eason, in proper person.
Bill McCollum, Attorney General, for appellee.
Before WELLS, CORTIÑAS, and LAGOA, JJ.
PER CURIAM.
We reverse the order summarily denying Norberto O. Eason's motion for additional credit for time served because nothing attached to the order on appeal demonstrates that Eason is not entitled to the additional credit he seeks. Aristides v. State, 44 So. 3d 195 (Fla. 3d DCA 2010); Parks v. State, 18 So. 3d 1199 (Fla. 3d DCA 2009). This cause is remanded for further proceedings.
Reversed and remanded.
